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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Prinzo & Associates, LLC
                                        Plaintiff,
v.                                                         Case No.: 1:20−cv−03256
                                                           Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 17, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Motion to dismiss [26] is
entered and continued. Plaintiff shall respond to the motion by 9/11/2020; Defendants
shall reply by 9/25/2020. Motion hearing set for 8/20/2020 [28] is stricken. The status
hearing set for 8/28/2020 [23] is stricken and re−set for 10/1/2020 at 9:15 a.m. There is no
need to file an initial status report. The court will decide at the 10/1/2020 hearing whether
discovery should proceed. Attorneys/Parties should appear for the hearing by calling the
Toll−Free Number: (877) 336−1828, Access Code: 4082461. Members of the public and
media will be able to call in to listen to this hearing (use toll free number). Please, please
be sure to keep your phone on mute when you are not speaking. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court issued media credentials, restricted entry to
future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice.(jlj, )




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